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                 U.S. District Court
               Middle District of Florida
                   Tampa Division

              GOVERNMENT EXHIBIT

     Exhibit No.: 346

     Case No.: 8:22-cr-259-WFJ-AEP

     UNITED STATES OF AMERICA

     vs.

     OMALI YESHITELA, ET AL.


     Date Identified:                    __________

     Date Admitted:                   ____________
                                Case 8:22-cr-00259-WFJ-AEP                          Document 296-304                        Filed 09/17/24                      Page 2 of 2 PageID
                                                                                            5212

Message Date/Time - UTC+00:00        Message
                                                 Sender                  Receiver                Message                                                              Translation/Local Media Path
(yyyy/MM/dd)                         Direction
2021/01/01 01:55:40 PM               Outgoing    Yevgeniy Vistoropskiy Aleksei Sukhodolov        Женя                                                            Zhenya
2021/01/01 01:56:37 PM               Incoming    Aleksei Sukhodolov    Yevgeniy Vistoropskiy     Ок                                                              OK
                                                                                                                                                                 Aleksey Borisovich, 'friends' have checked in for the flight and are
                                                                                                 Алексей Борисович, «друзья»регистрацию на рейс прошли,          waiting in the departure area. As soon as they get on the plane, they
2021/01/01 08:09:07 PM               Outgoing    Yevgeniy Vistoropskiy Aleksei Sukhodolov        ожидают в зоне вылета. Как сядут в самолёт мне наберут.         will call me.
2021/01/01 09:05:01 PM               Incoming    Aleksei Sukhodolov    Yevgeniy Vistoropskiy     Ок!                                                             OK!
2021/01/01 09:25:20 PM               Outgoing    Yevgeniy Vistoropskiy Aleksei Sukhodolov        Улетели                                                         They have departed
                                                                                                 Алексей Борисович, извиняюсь, что отвлекаю. Звонит Зарубенко по Aleksey Borisovich, I apologize for distracting you. Zarubenko is calling
                                                                                                 поручению Трофимова, спрашивает кому докладывали                on behalf of Trofimov and asking to whom the daily report was
2021/01/16 12:51:43 PM               Outgoing    Yevgeniy Vistoropskiy Aleksei Sukhodolov        ежедневный отчёт, не подскажите?                                submitted. Could you tell me?
                                                                                                                                                                 To no one. We don't have a report. We have been dismissed until
2021/01/16 12:55:17 PM               Incoming    Aleksei Sukhodolov      Yevgeniy Vistoropskiy   Никому. Нет у нас отчета. Нас отпустили до завтра               tomorrow.
2021/01/16 12:55:45 PM               Outgoing    Yevgeniy Vistoropskiy   Aleksei Sukhodolov      Понял, спасибо                                                  Got it, thanks.
2021/01/16 01:00:38 PM               Incoming    Aleksei Sukhodolov      Yevgeniy Vistoropskiy   Поскажи, кто завтра ответственный                               Could you tell me who is responsible tomorrow
2021/01/16 01:02:33 PM               Outgoing    Yevgeniy Vistoropskiy   Aleksei Sukhodolov      Михайлов                                                        Mikhaylov
2021/01/16 01:02:47 PM               Incoming    Aleksei Sukhodolov      Yevgeniy Vistoropskiy   У нас                                                           From our side
2021/01/16 01:02:59 PM               Outgoing    Yevgeniy Vistoropskiy   Aleksei Sukhodolov      Колосов                                                         Kolosov
2021/01/16 01:04:10 PM               Incoming    Aleksei Sukhodolov      Yevgeniy Vistoropskiy   Хорошо                                                          All right
